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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA

OSCAR GUILLEN,                                    )
                                                  )
                         Petitioner,              )
v.                                                )         No. 1:05-cv-1052-JDT-TAB
                                                  )
CRAIG HANKS, Superintendent,                      )
                                                  )
                         Respondent.              )


                                 Entry and Order to Show Cause

                                                      I.

       The habeas petition and supplement to such petition have been considered. From
these documents, two possible coherent and viable claims emerge. The first is that the
decision in the disciplinary proceeding identified as No. MCF 05-03-190 was not supported
by constitutionally sufficient evidence, and the second is that the petitioner was denied an
impartial decisionmaker in that proceeding. Those are the claims as to which the action
shall proceed.

       The petitioner’s motions to dismiss, motion for summary judgment and motion for
judgment on the pleadings are each denied as not being based on a showing that the
challenged disciplinary proceeding is constitutionally infirm.

                                                      II.

        The petitioner’s custodian is directed to answer the allegations of the petitioner’s
petition for a writ of habeas corpus, and in doing so shall show cause why the relief sought
by the petitioner should not be granted. This shall be done within twenty (20) days after
the date this Entry is signed. The petitioner shall have twenty (20) days after service of
such answer or return to order to show cause on him in which to reply.

      A copy of the petitioner’s petition and of his supplements filed on September 16,
2005, and October 17, 2005, shall be sent with this Entry to the Indiana Attorney General.

         IT IS SO ORDERED.

                                                            _______________________________


                                                              John Daniel Tinder, Judge
     Date:   02/23/2006                                       United States District Court


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